Case 1:03-cv-01563-SEB-VSS        Document 100      Filed 03/21/06    Page 1 of 8 PageID #:
                                         534



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 LANCE DAWSON,                                )
          Plaintiff,                          )
                                              )
       vs.                                    )       1:03-cv-1563-SEB-VSS
                                              )
 THOMAS NEWMAN, JR., et al.,                  )
          Defendants.                         )


     ENTRY DENYING PLAINTIFF’S MOTION FOR RELIEF FROM FINAL
                           JUDGMENT

       This matter comes before the Court on Plaintiff Lance Dawson’s (“Dawson”)

 Motion for Relief from Final Judgment, pursuant to Federal Rule of Civil Procedure

 60(b), which he filed on September 9, 2005. Dawson filed suit under 42 U.S.C. § 1983

 against Defendants Judge Thomas Newman, Jr. (“Judge Newman”), the Madison County

 Clerk of Court, Kathy Stoops-Wright; the Indiana Department of Corrections; and several

 parole officials (collectively “Defendants”). On June 25, 2004, we entered final judgment

 and dismissed Plaintiff’s claims as to all Defendants. On August 18, 2005, the Seventh

 Circuit affirmed our June 25, 2004, Judgment with respect to the claims against Judge

 Newman but reversed our ruling with respect to the remaining Defendants. Plaintiff now

 seeks relief from our June 25, 2004, Judgment (we assume to the extent that the Seventh

 Circuit has not already granted the relief he seeks). Judge Newman contends Plaintiff’s

 motion is untimely and, regardless, he is entitled to judicial immunity. We agree with

 Judge Newman’s assertion for the reasons explained below and, therefore,
Case 1:03-cv-01563-SEB-VSS         Document 100      Filed 03/21/06     Page 2 of 8 PageID #:
                                          535



 DENY Plaintiff’s Motion for Relief.

                                    Factual Background

        In 1990 Lance C. Dawson (“Dawson”) was convicted of certain criminal charges

 and placed on three years’ of probation with a suspended sentence of six years. In

 September 1992, Dawson’s probation officer filed a notice of probation violation on

 which a hearing was scheduled. On June 12, 2000, approximately ten years after being

 placed on three years’ probation, and eight years after the alleged probation violation, the

 State filed an amended notice of probation violation. On October 23, 2000, Judge

 Newman revoked Dawson’s probation and imposed a six-year term of incarceration.

 Dawson appealed to the Indiana Court of Appeals and on July 18, 2001, that court held

 that Dawson’s probation revocation was improper because it occurred so long after his

 term of probation had expired.

        The case was remanded to Judge Newman and he immediately entered a docket

 order mandating Dawson's release. However, though someone in Judge Newman's office

 faxed a copy of the Indiana Court of Appeals decision to the Department of Corrections

 (“DOC”), the release order itself was never transmitted. As a result, Dawson remained in

 custody for another fourteen months.

        Dawson filed this lawsuit in state court under 42 U.S.C. § 1983 against Judge

 Newman, the DOC, and several DOC parole officials. The defendants removed the case

 to federal court and Dawson amended the complaint to add the Madison County Clerk of

 Court, Kathy Stoops-Wright, as a defendant. We granted Defendants’ Rule 12(b)(6)

                                              2
Case 1:03-cv-01563-SEB-VSS          Document 100       Filed 03/21/06     Page 3 of 8 PageID #:
                                           536



 Motion to Dismiss on June 25, 2004, and entered Final Judgment in this case on the same

 day. Plaintiff appealed and on August 18, 2005,1 the Seventh Circuit affirmed our

 judgment dismissing Dawson’s claims against Judge Newman but reversed our judgment

 dismissing his claims against the remaining Defendants. The Seventh Circuit ruled that

 Judge Newman was entitled to judicial immunity from Dawson’s claims.

       On September 2, 2005, Plaintiff filed the present Motion for Relief claiming he

 had uncovered new evidence entitling him to relief from our June 25, 2004, Judgment.

 The new evidence consists, in principle part, of the following information obtained from

 Judge Newman’s court reporter, Lori Stinefield (“Stinefield”):

                        Stinefield, as the court reporter, normally drafts criminal
                orders for Judge Newman. Judge Newman does not personally
                review each order. Judge Newman does not personally sign each
                order. Judge Newman has a signature stamp and apparently that
                stamp is used in the instances where he does not personally review
                and/or sign the orders. Judge Newman does not verbally direct
                Stinefield to draft orders. Instead, Stinefield relies on forms set up
                on the computer “that you just kind of follow.” Stinefield further
                stated, “And while I’m in the courtroom, I take notes and, I mean,
                just from experience, I know what needs to go in the order.”

                       When Stinefield was hired as the Court Reporter for Madison
                Superior Court III, she was given only on-job training. Stinefield
                does not have to be certified to be a court reporter, but is only sworn
                in annually by Judge Newman.

                        Judge Newman hired Stinefield and is her direct supervisor.
                According to Stinefield, Judge Newman is the administrative head of
                Madison Superior Court. Newman makes and enforces the policies
                of that court.


       1
           The mandate was issued by the Court of Appeals on December 19, 2005.

                                                3
Case 1:03-cv-01563-SEB-VSS         Document 100        Filed 03/21/06     Page 4 of 8 PageID #:
                                          537



 Pl.’s Brief in Supp. at 3-4.

                                        Legal Analysis

        A.     Plaintiff’s Motion is Untimely.

        Plaintiff moved for relief, pursuant to Federal Rule of Civil Procedure 60(b)(2),

 which states, in relevant part:

               On motion and upon such terms as are just, the court may relieve a
               party or a party's legal representative from a final judgment, order, or
               proceeding for the following reasons: . . . (2) newly discovered
               evidence which by due diligence could not have been discovered in
               time to move for a new trial under Rule 59(b) . . . . The motion shall
               be made within a reasonable time, and for reasons (1), (2), and (3)
               not more than one year after the judgment, order, or proceeding was
               entered or taken. (emphasis added)

 The judgment from which Plaintiff seeks relief was entered on June 25, 2004, more than

 one year prior to the filing of Plaintiff’s motion. As we stated in our Clarification on

 September 9, 2004, Entry, “the reasoning and disposition of June 25, 2004, were

 complete.” The September 9th Clarification was not itself an entry of judgment nor the

 order from which Plaintiff seeks relief. Thus, Plaintiff’s Rule 60(b)(2) motion must be

 denied as untimely.

        B.     Plaintiff’s Motion if Unfounded.

        Assuming arguendo that Plaintiff’s motion is not untimely, he is nonetheless not

 entitled to relief because his arguments have already been addressed and rejected by the

 Seventh Circuit.

        Plaintiff claims that he is entitled to relief, pursuant to Rule 60(b), because of the


                                                 4
Case 1:03-cv-01563-SEB-VSS         Document 100        Filed 03/21/06     Page 5 of 8 PageID #:
                                          538



 newly discovered evidence that Judge Newman delegates responsibility for effectuating

 his orders to his court reporter, Stinefield. In his Motion for Relief, Plaintiff argues:

               At the Seventh Circuit Court of Appeals, the Honorable Judge
               Syke’s opinion (delivered in this case on August 18, 2005, but
               presently held under a Petition for Rehearing En Banc) identified
               three principles underlying judicial immunity analyses. One principle
               was “whether the act is normally performed by a judge.” Dawson,
               2005 WL 1981346, *4. In addition to the arguments discussed
               above, Lori Stinefield’s testimony shows that in fact the act of
               sending out or effectuating orders of the Court is an act not normally
               performed by the judge.

 Pl.’s Brief in Supp. at 4 (emphasis in original). Plaintiff attempts to parlay the fact that

 Judge Newman did not personally effectuate his orders into a “[required] finding that

 Defendant [Judge] Newman acted administratively in failing to send a notice of his order

 calling for Lance Dawson’s release.” Pl.’s Brief in Supp. at 5.

        Dawson’s assertions reflect a gross misreading of the Seventh Circuit’s opinion.

 In fact, the Seventh Circuit already dispensed with Plaintiff’s arguments in its August 18,

 2005, order, stating:

               We concluded in Lowe that “[a]ll three factors point to the judicial
               character” of the judge’s delay in deciding the postconviction motion
               because “deciding when to decide a case, no less than deciding the
               case itself, is a judicial act for which a judge is absolutely immune.”
               Lowe v. Letsinger, 772 F.2d 308, 312 (7th Cir. 1985). We further
               concluded that the three-week delay in sending notice of the order
               granting postconviction relief was also immunized because although
               “[o]rdinarily the mere mailing of the notice is a clerk’s chore” that
               did not involve the exercise of discretion, to the extent that the judge
               “did undertake to control the disposition of his own order[,] he was
               still acting in his judicial role.” Id. at 313. Although the judge in
               Lowe was entitled to absolute immunity, the court clerk was not; we
               concluded that “the clerk’s duty to type and send notice after entry of

                                                5
Case 1:03-cv-01563-SEB-VSS          Document 100       Filed 03/21/06     Page 6 of 8 PageID #:
                                           539



               judgment is a non-discretionary, ministerial task.” Id.

 Dawson v. Newman, 419 F.3d 656, 661 (7th Cir. 2005) (emphasis added). The Seventh

 Circuit further held:

               Dawson’s claims against Judge Newman are premised upon an
               alleged violation of what Dawson contends is a personal statutory
               duty of the judge, which necessarily involves an act or omission by
               the judge as a part of the judicial case processing function.
               Assuming arguendo that Dawson's premise is correct (that the statute
               imposes a personal duty on the judge), it follows that the acts or
               omissions in the performance of that judicial duty are immunized.
               To the extent that the statute imposes a duty on the judge at all, that
               duty implicates the judge’s role as judge rather than as an
               administrative or clerical officer. Judge Newman is absolutely
               immune and the claims against him were properly dismissed.

 Dawson v. Newman, 419 F.3d 656, 661-62 (7th Cir. 2005) (emphasis added).

         The Seventh Circuit’s analysis (in addition to including the two factors

 conspicuously omitted by Plaintiff), specifically noted that judicial immunity is not

 abrogated merely by the fact that the challenged action is normally a task carried out by a

 clerk and not the judge himself.2 As the Seventh Circuit clearly explained, a judge’s role

 in managing the processing of orders is a judicial function, not an administrative function

 as Plaintiff contends in his present motion. The new evidence submitted by Plaintiff does

 nothing to undermine the essential judicial nature of the oversight function performed by

 Judge Newman and, as the Supreme Court has explained, “[I]t [is] the nature of the


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          As the Seventh Circuit explained in Lowe: “This is not to say that a party is without
 recourse where a judge delays making a decision for an inordinate period, only that the proper
 recourse is through habeas corpus proceedings not through civil proceedings against the judge.”
 Lowe, 772 F.2d at 312 (citations omitted).

                                                6
Case 1:03-cv-01563-SEB-VSS          Document 100        Filed 03/21/06      Page 7 of 8 PageID #:
                                           540



 function performed, not the identity of the actor who performed it, that inform[s] our

 immunity analysis.” Forrester v. White, 484 U.S. 219, 229 (1988).

         Accordingly, Plaintiff’s Motion for Relief from Judgment as to Judge Newman is

 denied.3

                                        CONCLUSION

         For the reasons explained above, Plaintiff’s Motion for Relief from Final Judgment

 is DENIED. IT IS SO ORDERED.




             03/21/2006
 Date:
                                              SARAH      EVANS BARKER, JUDGE
                                                 _______________________________

                                              United States
                                                  SARAH   EVANS  District
                                                                    BARKER,Court
                                                                               JUDGE
                                                  United States District Court
                                              Southern
                                                  SouthernDistrict      of Indiana
                                                           District of Indiana


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         3
          To the extent that Plaintiff’s motion seeks relief from the dismissal of the Defendants
 other than Judge Newman, it is denied as moot in light of the Seventh Circuit’s order of August
 18, 2005.

                                                 7
Case 1:03-cv-01563-SEB-VSS   Document 100   Filed 03/21/06   Page 8 of 8 PageID #:
                                    541



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                                      8
